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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re: § Case No. 08-23268-ABL
§
JEFFREY JAEGER §
AMY JAEGER §
aka AMY ELIZABETH GORA §
Debtor(s) §

 

NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATION FOR COMPENSATION
AND DEADLINE TO OBJECT (NFR)

Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Lenard E.
Schwartzer, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
professionals have filed final fee applications, which are summarized in the attached Summary of
Trustee’s Final Report and Applications for Compensation.

The complete Final Report and all applications for compensation are available for inspection at
the Office of the Clerk, at the following address:

Foley Federal Building, 300 Las Vegas Blvd., South, 4th Floor, Las Vegas, NV 89101

Any person wishing to object to any fee application that has not already been approved or to
the Final Report, must file and serve a written opposition no later than fourteen (14) days preceding the
hearing date for this application, serve a copy of the opposition upon the trustee, any party whose
application is being challenged and the United States Trustee. A hearing on the fee applications and
any opposition to the Final Report will be held in the Foley Federal Building, 300 Las Vegas
Boulevard South, Third Floor, Las Vegas, Nevada on May 5, 2022, at the hour of 11:00 a.m. If no
oppositions are filed, upon entry of an order on the fee applications, the trustee may pay dividends
pursuant to FRBP 3009 without further order of the Court

Date: 03/22/2022 By: _/s/ Lenard E. Schwartzer
Trustee

 

Lenard E. Schwartzer
2850 S. Jones Blvd., Ste |
Las Vegas, NV 89146

UST Form 101-7-NFR (10/1/2010)
 

 

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UNITED STATES BANKRUPTCY COURT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DISTRICT OF NEVADA
In re: § Case No. 08-23268-ABL
§
JEFFREY JAEGER §
AMY JAEGER §
§
Debtor(s) §
SUMMARY OF TRUSTEE’S FINAL REPORT
AND APPLICATIONS FOR COMPENSATION
The Final Report shows receipts of $160,000.00
and approved disbursements of $79,053.02
leaving a balance on hand of": $80,946.98
Claims of secured creditors will be paid as follows:
Claim Claimant Claim Allowed Interim Proposed
No. Asserted Amount of} Payments to Amount
Claim Date
3|Saxon Mortgage $199,599.78 $0.00 $0.00 $0.00
5|IRWIN HOME $152,023.45 $0.00 $0.00 $0.00
EQUITY
Total to be paid to secured creditors: $0.00
Remaining balance: $80,946.98
Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant Total Interim Proposed
Requested| Payments to Payment
Date
Lenard E. Schwartzer, Trustee Fees $11,250.00 $0.00 $11,250.00
Lenard E. Schwartzer, Trustee Expenses $142.42 $0.00 $142.42
Schwartzer & McPherson, Attorney for Trustee $5,877.50 $5,877.50 $0.00
Fees
Schwartzer & McPherson, Attorney for Trustee $129.07 $129.07 $0.00
Expenses

 

 

 

 

 

 

1 The balance of funds on hand in the estate may continue to eam interest until disbursed. The interest eamed prior to disbursement will be distributed pro
rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth under
11 U.S.C. § 326(a) on account of disbursement of the additional interest.

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CLERK, U.S. BANKRUPTCY COURT, Clerk $260.00 $0,00 $260.00
of the Court Costs

Other: Aylstock, Witkiin Kreis & Overholtz, $60,800.00 $60,800.00 $0.00
PLLC, Special Counsel for Trustee Fees

Other: Aylstock, Witkiin Kreis & Overholtz, $3,880.84 $3,880.84 $0.00
PLLC, Special Counsel for Trustee Expenses

 

 

 

 

 

Total to be paid for chapter 7 administrative expenses: $11,652.42
Remaining balance: $69,294.56

 

 

Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE

Total to be paid to prior chapter administrative expenses: $0.00
Remaining balance: $69,294.56

 

 

In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

Allowed priority claims are: NONE

Total to be paid to priority claims: $0.00
Remaining balance: $69,294.56

 

 

The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

Timely claims of general (unsecured) creditors totaling $110,117.41 have been allowed and
will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
The timely allowed general (unsecured) dividend is anticipated to be 62.9 percent, plus interest (if
applicable).

Timely allowed general (unsecured) claims are as follows:

 

 

 

 

 

 

Claim Claimant Allowed Amt, Interim Proposed
No. of Claim; Payments to Amount
Date
1|LVNV Funding LLC its successors $20,977.81 $0.00 $13,200.90
and assigns as
2|LVNV Funding LLC its successors $22,649.48 $0.00 $14,252.84
and assigns as

 

 

 

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4| CAPITAL ONE BANK (USA), $8,207.96 $0.00 $5,165.10
N.A.
6| CHASE BANK USA, NA $1,880.44 $0.00 $1,183.32
7| CHASE BANK USA, NA $6,300.00 $0.00 $3,964.46
8| CHASE BANK USA, NA $9,722.00 $0.00 $6,117.85
9) CHASE BANK USA, NA $17,314.00 $0.00 $10,895.33
10] AMERICAN EXPRESS $255.15 $0.00 $160.56
CENTURION BANK
11]|CAPITAL ONE BANK (USA), $2,087.17 $0.00 $1,313.41
N.A.
12|PYOD LLC its successors and $15,706.43 $0.00 $9,883.72
assigns as assignee of
13] ROUNDUP FUNDING, LLC $5,016.97 $0.00 $3,157.07
Total to be paid to timely general unsecured claims: $69,294.56
Remaining balance: $0.00

 

Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
interest (if applicable).

Tardily filed general (unsecured) claims are as follows: NONE

Total to be paid to tardily filed general unsecured claims: $0.00
Remaining balance: $0.00

 

 

Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend
for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE

Total to be paid for subordinated claims: $0.00
Remaining balance: $0.00

 

 

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Prepared By: /s/ Lenard E. Schwartzer

 

Trustee
Lenard E. Schwartzer
2850 8. Jones Blvd., Ste 1
Las Vegas, NV 89146

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.

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